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             1   Pavel I. Pogodin, Ph.D., Esq. (SBN 206441)
                 CONSENSUS LAW
             2   5245 Ave Isla Verde
             3   Suite 302
                 Carolina, PR 00979
             4   United States of America
                 Telephone: (650) 469-3750
             5   Facsimile: (650) 472-8961
                 Email: pp@consensuslaw.io
             6
             7   Attorneys for Plaintiffs BMA LLC,
                 Yaroslav Kolchin and Vitaly Dubinin
             8
             9                                       UNITED STATES DISTRICT COURT

           10                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

           11                                               SAN FRANCISCO DIVISION

           12
           13    BMA LLC, Yaroslav Kolchin and Vitaly                                Case No. 3:20-cv-3345-WHO
                 Dubinin,
           14
                                                                                     PLAINTIFFS’ RESPONSE TO
           15                            Plaintiffs,                                 DEFENDANTS’ ADMINISTRATIVE
                                                                                     MOTION PER CIVIL LOCAL RULE 7-
           16                                                                        11
                                 v.
           17
                                                                                     Complaint Filed: May 16, 2020
           18    HDR Global Trading Limited (A.K.A.                                  Second Amended Complaint Filed: July
                 BitMEX), ABS Global Trading Limited,                                14, 2020
           19    Arthur Hayes, Ben Delo and Samuel Reed,

           20                                                                        Discovery Cutoff: None Set
                                         Defendants.                                 Pretrial Conference Date: None Set
           21                                                                        Trial Date: None Set

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             1
                                                                PLAINTIFFS’ RESPONSE
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             3                                                     Procedural Background
                        Plaintiffs filed the original Complaint, Dkt. No. 1, on May 16, 2020, alleging that
             4
                 Defendants engaged in racketeering in violation of 18 U.S.C. §§ 1962(d) and (c) (“RICO”) and
             5
                 cryptocurrency market manipulation in violation of the Commodity Exchange Act (“CEA”), 7
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                 U.S.C. §§ 1 et seq., as well as state causes of action. Two days later, on May 18, 2020 Plaintiff
             7
                 filed an Amended Complaint pursuant to Fed. R. Civ. P. 15(a)(1)(A), Dkt. No. 6, with minor
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                 corrections of typographical errors and no substantive changes. On July 14, 2020, parties
             9
                 stipulated to waiver of service of process, filing of a Second Amended Complaint (“SAC”) and
           10
                 set a briefing schedule. Court has granted this stipulation, Dkt. No. 31, and Plaintiffs filed the
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                 SAC on July 14, 2020, Dkt. No. 32. Subsequently, in August of 2020, Plaintiffs asked
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                 Defendants to stipulate on filing of a Third Amended Complaint, adding new parties, which
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                 Defendants refused during a meet and confer call. Defendants filed their Motion to Dismiss
           14
                 under Fed. R. Civ. P. 12(b)(6) on September 14, 2020, Dkt. No. 42. Plaintiffs’ opposition to said
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                 Motion was also filed. To conserve judicial resources, Plaintiffs filed a Motion for Leave to File
           16
                 Third Amended Complaint (“TAC”, Dkt. No. 45) on October 8, 2020, overcoming all of
           17
                 Defendants’ arguments raised in their Motion to Dismiss. Dkt. No. 46. Dolgov v. HDR Global
           18
                 Trading Limited, No. 4:20-cv-07140-YGR was filed as a separate case because Defendants’
           19
                 counsel Mr. Hibbard was trying to use any excuse, including a simple addition of new parties to
           20
                 the present case, for insisting on delaying the resolution of the initial motions in the present action
           21
                 even further.
           22
                        On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by the United States
           23
                 Department of Justice (“DOJ”) on felony charges of violating the Bank Secrecy Act by willfully
           24
                 evading U.S. anti-money laundering requirements. On the same day, the Commodity Futures
           25
                 Trading Commission (“CFTC”) announced the filing of a civil enforcement action in the U.S.
           26
                 District Court for the Southern District of New York charging Defendants HDR, ABS, Hayes,
           27
                 Delo and Reed with operating an unregistered trading platform and violating multiple CFTC
           28
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  ATTORNEYS            PLAINTIFFS’ RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION.   -2-   BMA LLC   ET AL. V . HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
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             1
                 Regulations, including failing to implement required anti-money laundering procedures.
             2
                         In announcing the indictment, FBI Assistant Director William F. Sweeney Jr. said: “As
             3
                 we allege here today, the four defendants, through their company’s BitMEX crypto-currency
             4
                 trading platform, willfully violated the Bank Secrecy Act by evading U.S. anti-money laundering
             5
                 requirements. One defendant went as far as to brag the company incorporated in a jurisdiction
             6
                 outside the U.S. because bribing regulators in that jurisdiction cost just ‘a coconut.’ Thanks to the
             7
                 diligent work of our agents, analysts, and partners with the CFTC, they will soon learn the price
             8
                 of their alleged crimes will not be paid with tropical fruit, but rather could result in fines,
             9
                 restitution, and federal prison time." Defendant Reed was apprehended by the FBI in Boston,
           10
                 Massachusetts. Defendants Hayes and Delo remain at large and are currently fugitives wanted by
           11
                 the U.S. Government.
           12
                                                            Statement Of The Relevant Facts
           13
                         Defendants Hayes, Delo and Reed are notorious fraudsters, who have been criminally
           14
                 charged with felony money laundering related offenses by the U.S. Department of Justice and two
           15
                 of whom are currently fugitives from the U.S. law enforcement. Attached hereto as Exhibits A
           16
                 and B are true and correct copies of the announcements of the CFTC and DOJ enforcement
           17
                 actions against Defendants. Defendant Hayes publicly admitted to bribery of foreign government
           18
                 officials and bank fraud and even expressed pride in his criminal actions.
           19
                         Exhibits C and D are true and correct copies of two sworn declarations by two of the
           20
                 defrauded victims of the Defendants, Frank Amato and Elfio Guido Capone, attesting, under oath,
           21
                 how Defendants defrauded them out of millions of dollars.
           22
                         Being keenly aware of the Commodity Futures Trading Commission (“CFTC”) and
           23
                 Department of Justice (“DOJ”) investigations and imminently forthcoming civil and criminal
           24
                 charges, and while preparing to go on a lam from the U.S. authorities, Defendants Hayes, Delo
           25
                 and Reed looted about $440,308,400 of proceeds of various nefarious activities that took place on
           26
                 the BitMEX platform, from accounts of Defendant HDR, Exhibits E, F, G. The looted funds
           27
                 were divided among Defendants and their associate substantially in accordance with the
           28
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  ATTORNEYS            PLAINTIFFS’ RESPONSE TO DEFENDANTS’ ADMINISTRATIVE MOTION.   -3-   BMA LLC   ET AL. V . HDR ET AL.   CASE NO. 3:20-CV-3345-WHO
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             1
                 following table, prepared on information and belief of Plaintiffs:
             2
             3                 Shareholder of HDR Global                                  Equity                  Distribution Amount
                                        Trading Limited                              Ownership
             4
                                                                                     Percentage
             5
             6    1.      Arthur Hayes                                              31.67%                 $139,430,993.33

             7    2.      Benjamin Delo                                             31.67%                 $139,430,993.33

             8    3.      Samuel Reed                                               31.67%                 $139,430,993.33

             9    4.      Sean O’Sullivan Ventures (SOSV)                           5%                     $22,015,420.01

           10                                                                                 Total: $440,308,400.00

           11
                 These fraudulent distributions of proceeds of illegal acts were made on the following dates, which
           12
                 are after Defendants learned about the Government investigations and after receiving a draft
           13
                 complaint in this action in 2019:
           14
           15
                                                                     Distribution Date
           16
                                                   1.                October 15, 2019
           17
                                                   2.                November 19, 2019
           18
                                                   3.                January 2020
           19
           20           From this information, it appears that Defendants were actively and deliberately looting
           21    Defendant HDR and trying to make its funds unavailable for the collection of future judgments
           22    against it. Specifically, the aforesaid profit distributions at a rate of $440,308,400.00 in just three
           23    months were clearly not performed in the ordinary course of business of Defendant HDR, as they
           24    represent $1,761,233,600 annual profit distribution rate, which money Defendant HDR simply
           25    does not earn. Therefore, these extraordinarily large distributions were clearly designed to loot
           26    Defendant HDR of its assets and hinder Plaintiffs’ and Government’s recovery of any future
           27    judgments. Furthermore, such a remarkable surge in proceeds distributions may also indicate that
           28
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             1
                 Defendants are looting BitMEX Insurance Fund, Exhibits E, F, G.
             2
                        In addition, from the outlandish arguments that Mr. Hibbard made in his Motion to
             3
                 Dismiss and his Opposition to Plaintiffs’ Motion to Stay and from his attempt to even
             4
                 misrepresent the allegations of Plaintiffs’ Complaint to Judge Orrick, it is patently obvious that
             5
                 Mr. Hibbard is not fighting this case on the merits. Mr. Hibbard’s clear and unmistakable
             6
                 strategy is to delay the current proceedings to give Defendants enough time to loot their company
             7
                 dry and prevent Plaintiffs from collecting any money on the inevitable judgment.
             8
                                                                             Argument
             9
                        Plaintiffs would like to address Defendants’ attempt to mislead and confuse the Court by
           10
                 making it look like Plaintiffs’s counsel filed the Dolgov v. HDR Global Trading Limited, No.
           11
                 4:20-cv-07140-YGR action as a separate case for no apparent reason. In reality, Dolgov action
           12
                 was filed as a separate case only because, being motivated by his desire to delay the proceedings
           13
                 as much as possible as explained in detail above, Defendants’ counsel Mr. Hibbard was trying to
           14
                 use any excuse, including a simple addition of new parties to the present case, for insisting on
           15
                 delaying the resolution of the initial motions in the present action even further. Defendants had
           16
                 four full months to file their motions to dismiss and Plaintiffs were not willing to delay resolution
           17
                 of those motions even further as Defendants tried to do.
           18
                        Therefore, it was Defendants and not Plaintiffs who were responsible for the duplication
           19
                 of the judicial proceedings and for delaying resolution of the initial motions as much as they were
           20
                 delayed.
           21
                        Plaintiffs believe that the determination of whether BMA LLC v. HDR Global Trading
           22
                 Limited, No. 3:20-cv-03345-WHO and Dolgov v. HDR Global Trading Limited, No. 4:20-cv-
           23
                 07140-YGR are Related Cases is properly left to sound discretion of Judge William H. Orrick
           24
                 pursuant to Civil Local Rule 3-12.
           25
           26
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             1
                 Dated: October 30, 2020                                                 Respectfully submitted,
             2
                                                                                         By:      /s/ Pavel I. Pogodin
             3                                                                                    Pavel I. Pogodin
             4                                                                           CONSENSUS LAW
                                                                                         Pavel I. Pogodin, Ph.D., Esq.
             5                                                                           5245 Ave Isla Verde
             6                                                                           Suite 302
                                                                                         Carolina, PR 00979
             7                                                                           United States of America
                                                                                         Telephone: (650) 469-3750
             8                                                                           Facsimile: (650) 472-8961
                                                                                         Email: pp@consensuslaw.io
             9                                                                           Attorneys for Plaintiff BMA LLC
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